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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                     Case Number 8:10CR264-002

                                                       USM Number 22829-047

RAYMOND LAWRENCE THOMAS
              Defendant
                                                       HUNTER B. SADLE

                                                       Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                        (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of the Mandatory Condition of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

                                                                              Date Violation
        Violation Number                 Nature of Violation                   Concluded


 2                                 Drug/Alcohol Use                         December 13, 2011

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Allegation 1 of the Petition is dismissed on the motion of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant
to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such
Notice of Appeal must be filed with the Clerk of this Court within fourteen (14) days of this date
pursuant to Fed. R. App. P. 4.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405 (Revised
DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.

                                                                     Date of Imposition of Sentence:
                                                                                        July 2, 2012

                                                                  s/Laurie Smith Camp
                                                                   Chief United States District Judge

                                                                                 July 2, 2012
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Defendant: RAYMOND LAWRENCE THOMAS                                                        Page 2 of 4
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                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of ten (10) months to be served consecutively with the sentence imposed
in 8:09CR67.

The Court makes the following recommendations to the Bureau of Prisons:

1.     Defendant shall be given credit for time served.

The defendant is remanded to the custody of the United States Marshal.

                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                      __________________________________
                                                             UNITED STATES WARDEN

                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                     SUPERVISED RELEASE

No term of supervised release is imposed.

                             CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

      Total Assessment                      Total Fine                    Total Restitution
              $100.00                                                        $5,719.92



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:



                                              FINE

          No fine imposed.

                                        RESTITUTION

         Restitution in the amount of $5,719.92 is hereby ordered. The Defendant shall make
restitution to the following payees in the amounts listed below.

Restitution is hereby ordered jointly and severally with: David Joe Hoffman, 8:10CR264,
$5,719.92.

         If the Defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.

                                                                               Priority Order
                             **Total Amount            Amount of               or Percentage
    Name of Payee                of Loss           Restitution Ordered          of Payment

 Santee HEART                   $5,719.92                $5,719.92                 Priority
 Program                                                                    Order/Percentage

 Totals                         $5,719.92                $5,719.92
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Defendant: RAYMOND LAWRENCE THOMAS                                                          Page 4 of 4
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                                 SCHEDULE OF PAYMENTS
The defendant shall pay the special assessment in the amount of $100.00.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of
the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant
shall participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly
installments of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first
payment shall commence 60 days following the defendant’s discharge from incarceration, and
continue until the criminal monetary penalty is paid in full; and (c) the defendant shall be
responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the
following order of priority: special assessment; restitution; fine; and other penalties. Unless
otherwise specifically ordered, all criminal monetary penalty payments, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be
made to the clerk of the Court. Unless otherwise specifically ordered, interest shall not accrue
on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska,
111 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly
payment amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.

Restitution is hereby ordered jointly and severally with: David Joe Hoffman, 8:10CR264.

CLERK’S OFFICE USE ONLY:
ECF DOCUMENT
I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.
Date Filed:__________________________________
DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
